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UNITED STATES BANKRUPTCY COURT
MIDDLE DISTRICT OF FLORIDA

JACKSONVILLE DIVISION
In re: ) Case No. 05-03817-3F1
WINN-DIXIB STORES, INC., et'al., ) Chapter 11
Debtors. ) Jointly Administered

__)

AGREED ORDER OF RESOLUTION OF THE LITIGATION

A
CLAIM OF JAMIE SCHEXNAY DER (CLAIM NOS 264, 4269 AND 4270)

These cases are before the Court upon the motion of Winn-Dixie Stores, Inc. and
twenty-three of its subsidiaries and affiliates (collectively, the “Debtors”) and claimant,
Janie Schexnayder (the “Claimant”), in accordance with the Order Approving Claims
Resolution Procedure and ‘Authorizing Debtors to Settle or Liquidate Certain Litigation
Claims (Docket No. 3326). The Court finds that the proposed. Agreed Order is for an
agreed amount less than the $50,000 minimum established in the Claims Resolution
Procedure. Accordingly, it is

ORDERED AND ADJUDGED;

1. Claim No. 4270 filed by Claimant is allowed as an unsecured non-priority

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oloin: in the amount of $10,000.00 against Winn-Dixie Montgomery, Inc. in Case No. 05-
03837 to be. paid in accordance with a confirmed plan(s) of reorganization in these
Chapter 11 cases.

2.. This Agreed Order resolves (i) all liabilities and obligations related to
Claim No. 4270 and (ii) all other claims, including but not limited to Claim Nos. 264 and
4269, the Claimant has or may have against the Debtors and any of their Chapter 11
estates, officers, employees, agents, successors OF assigns as of the date of this Agreed

Order, all of which are forever waived, discharged and released.

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3. The Debtors do not, by this Order or the Claims Resolution Procedure,
acknowledge the validity of aay Litigation Claim or the existence of coverage under any
Insurance Policy with respect to any Litigation Claim, or make any adniission of liability.
The Claimant, riot the Debtors, will be solely responsible for payment of all medical costs
or reimbursement liabilities, if any, relating to each settled claim. This settlement is
contingent upon the satisfaction of any: Medicare or Medicaid lien prior to the distribution
of any monies or property pursuant to this settlement agreement.

4, ‘The Court shall retain jurisdiction to resolve any disputes arising from this
Order.

Dated this {p day of nn, 2006, ST

ferry AVF mx
Jers A ankruptcy Judge

Copy to:
James H. Post

[James 1. Post is directed to serve a copy of this order on the Claimant and file a proof of service.J

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Consent
The undersigned parties consent to the entry of the foregoing Agreed Order.

SMITH HULSEY & BUSEY

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ames H. Post

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Ponthieu

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